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                 THE UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 BETHUNE-COOKMAN
 UNIVERSITY, INC.,

 Plaintiff,

 vs.                                     Case No. 6:22-cv-0047-WWB-GJK

 DR. MARY MCLEOD BETHUNE
 NATIONAL ALUMNI
 ASSOCIATION, INC., and
 JOHNNY L. MCCRAY, JR.,
 Individually,

 Defendants.
 ____________________________/

                 MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff, Bethune-Cookman University, Inc. (the “University”), pursuant to

 Rule 65 of the Federal Rules of Civil Procedure and 15 U.S.C. § 1116, respectfully

 requests this Court to issue a preliminary injunction enjoining Defendants, Dr. Mary

 Mcleod Bethune National Alumni Association, Inc. (the “Former Alumni

 Association”) and Johnny L. McCray, Jr. (“McCray”) (collectively “Defendants”),

 from the unauthorized use of the University’s registered trademarks or trade dress,

 and from holding itself out as associated with the University. In support of this

 Motion, the University states as follows:



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                                 INTRODUCTION

       1.     On January 7, 2022, the University filed a multi-count complaint

 against the Former Alumni Association alleging violations of state and federal law

 due to McCray’s and the Former Alumni Association’s unauthorized use of the

 University’s trademarks and its false association with the University. [DKT No. 1].

       2.     The University is entitled to an Order issuing a preliminary injunction

 against McCray and the Former Alumni Association because: (1) McCray and the

 Former Alumni Association are infringing on the University’s marks and creating a

 false association with the University; (2) the University will succeed on its claims

 arising from this conduct by McCray and the Former Alumni Association; (3)

 irreparable harm will continue unless McCray and the Former Alumni Association

 are stopped; and (4) no other factors prevent issuance of a preliminary injunction.

       3.     In support of this Motion and to verify the allegations contained herein,

 the University submits the Affidavit of Belvin Perry, Jr., attached hereto as “Exhibit

 A,” and the Affidavit of Kimberly Woodard, attached hereto as “Exhibit B.”

                                  BACKGROUND

                     THE UNIVERSITY'S TRADEMARKS

       4.     The University owns trademarks and service marks that are valid and

 subsisting in law, were duly and legally issued, and constitute constructive notice of

 the University’s ownership of the marks in accordance with Sections 7(b) and 22 of

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 the Federal Lanham Act, 15 U.S.C. §§ 1115(a), 1057(b), and 1072, (hereinafter the

 “University’s Marks”). See Exhibit A, Aff. of Belvin Perry, Jr., ¶ 6.a.-j.

         5.    Since the United States Patent and Trademark Office (“USPTO”) has

 issued a Notice of Acceptance under Section 8 of the Lanham Act, 15 U.S.C.

 §1058(a)(l), and Section 15 of the Lanham Act, 15 U.S.C. §1065, for the

 University’s Marks, the University’s rights to these registrations are “incontestable”

 under Section 15 of the Lanham Act, 15 U.S.C. §1065. See also Park 'N Fly, Inc. v.

 Dollar Park and Fly, Inc., 469 U.S. 189 (1985); See Exhibit A, Aff. of Belvin Perry,

 Jr., ¶ 6.j.

         6.    The University’s Marks have been used to identify the University's

 services and to distinguish them from the services of other educational institutions

 and organizations. For example, the University prominently displays and uses these

 marks on school buildings, letterhead, correspondence, direct mailings, its website,

 and school and Alumni newsletters, among other things. See Id., ¶ 6.a.-j.

         7.    The University is a tax-exempt institution and accepts contributions

 from numerous donors each year. The University’s Alumni represent a significant

 segment of the University’s donor base. The University regularly employs the

 University’s Marks in its efforts to raise money to further the University's mission.

 See Exhibit B, Aff. of Kimberly Woodard, ¶¶ 7, 8, 9.




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 THE FORMER ALUMNI ASSOCIATION’S HISTORY AND MISSION

         8.    The Former Alumni Association is an independent corporation, which

 is not legally affiliated with the University through common ownership or otherwise.

 See Exhibit A, Aff. of Belvin Perry, Jr., ¶ 7.

         9.    However, from the beginning, cooperation between the University and

 the Former Alumni Association was integral to the Former Alumni Association’s

 founding and mission. See Id., ¶ 10, Exh. J.

         10.   According to its April 28, 2020, Bylaws, the Former Alumni

 Association’s purpose is to maintain intimate and continuous involvement with the

 University when conducting its fundraising activities and other support on behalf of

 the University. See Id., ¶ 9, Exh. J.

         11.   The Former Alumni Association’s Chapters’ Assessments are to

 include donations to the University. See Id., ¶ 9, Exh. J, Art. I, Sec. 5.

         12.   Further, the Former Alumni Association’s website stated that its

 Mission was to serve the University and its Vision was to advance the mission of the

 University. See Id., ¶ 10.

                       ACCREDITATION IMPLICATIONS

         13.   The University has achieved accreditation with the Southern

 Association of Colleges and Schools Commission on Colleges (“SACS”). See Id.,

 ¶ 12.

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       14.    To gain or maintain accreditation with SACS, an institution must

 comply with the standards contained in the Principles of Accreditation: Foundations

 for Quality Enhancement and with the policies and procedures of the Commission.

 See Id., ¶¶ 13, 14, 15.

       15.    In recent years, the SACS accreditation standards have been revised to

 include more stringent standards pertaining to fundraising by “institution-related

 entities,” which are entities organized separate from the University, but whose

 purpose is to raise funds to support the University and its programs. See Id., ¶ 14.

       16.    Specifically, Section 5.3 of the SACS Accreditation Standards requires

 the University to exercise sufficient direction and control over the fundraising

 activities of institution-related entities. The University is currently going through

 the SACS reaffirmation process, but failure to comply with SACS Accreditation

 Standards could result in loss of accreditation, which would be devastating to the

 University. See Id., ¶¶ 15, 16.

       17.    In order to comply with SACS standards and exercise direction and

 control over institution-related entities’ fundraising for the University, the

 University can create a Direct Support Organization for its alumni and other donors

 to contribute directly to the University. See Id., ¶ 22.

       18.    Many Southern colleges and universities with SACS accreditation use

 Direct Support Organizations for this purpose, including, but not limited to the

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 University of Florida and Florida State University. See Id., ¶ 23.

     FORMER ALUMNI ASSOCIATION’S LOSS OF TAX-EXEMPT STATUS

        19.    In addition to the issue of the University’s direction and control over

 institution-related entities’ fundraising for the University, the University has also

 learned that the Former Alumni Association lost its tax-exempt status with the IRS.

 According to public records as of the filing of this lawsuit, the Former Alumni

 Association has not filed its IRS Form 990 information returns since 2016—

 therefore, losing its tax-exempt status due to its failure to file three (3) years of IRS

 Form 990 information returns. See Id., ¶¶ 18, 19.

          DISPARAGEMENT BY THE FORMER ALUMNI ASSOCIATION

        20.    The Former Alumni Association’s leadership has a history of publicly

 disparaging the University and its Board of Trustees. See Id., ¶ 17.

     DISASSOCIATION FROM FORMER ALUMNI ASSOCIATION AND
            REVOCATION OF PERMISSION TO USE MARKS

        21.    The University’s Board of Trustees (the “Board”) convened on

 September 1, 2021, and unanimously voted for the University to break ties with and

 disassociate from the Former Alumni Association, and to create a Direct Support

 Organization 1. See Id., ¶¶ 22, 24.


 1
   Under the Direct Support Organization model, alumni will work directly with the Bethune-
 Cookman University Office of Alumni Affairs and Development, which allows the University to
 exercise sufficient direction and control over the fundraising activities for the University, as
 required by SACS accreditation standards, and for more direct, efficient, and effective alumni

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       22.    On or about September 17, 2021, the University’s counsel sent a letter

 to the Former Alumni Association’s counsel advising that in light of the resolution

 passed by the Board, the Former Alumni Association was not legally authorized to

 use the University’s name, likeness, logos, or facilities, or to represent itself publicly

 as being associated with the University in any way. See Id., ¶ 25.

        23.   After receipt of cease and desist letter(s) from the University, the

 Former Alumni Association, at the direction and authorization of Defendant,

 McCray, changed its name2 to Dr. Mary McLeod Bethune National Alumni

 Association, Inc., to remove “Bethune-Cookman University” from its name while

 continuing to keep the University’s Founder’s name. See Id., ¶¶ 7, 25.

       24.    Dr. Mary McLeod Bethune is inextricably associated with the

 University. Dr. Bethune is the University’s Founder, the University is named after

 her, and in addition to her statue, her home is located on the University’s campus.

 Further, a replica of her National Statuary Hall statue will be placed in the Riverfront

 Park in Daytona Beach, Florida, in such a way that it is directly facing the University,

 because of Dr. Bethune’s inextricable ties to the University. See Id., ¶ 30.

       25.    In addition to using the University’s Founder’s name, the Former

 Alumni Association continued to use the University’s likeness, logos, and


 engagement.
 2
   The Former Alumni Association was previously known as the “National Alumni Association of
 Bethune-Cookman University, Inc.”

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 trademarks, and represent itself publicly as being associated with the University. See

 Id., ¶ 26.

              THE FORMER ALUMNI ASSOCIATION'S CONTINUED
                  INFRINGEMENT AND FALSE ASSOCIATION

        26.   Despite the University’s clear notice of disassociation and multiple

 notices of infringement and demands to cease and desist, the Former Alumni

 Association has continued to represent that it is authorized to contact the

 University’s alumni and solicit donations for the University, and otherwise, willfully

 infringe upon and dilute the University’s Marks by using them without permission.

 See Id., ¶ 27; Exhibit B, Aff. of Kimberly Woodard, ¶¶ 12, 14.

        27.   The Former Alumni Association’s logo as of the filing of this lawsuit

 contains the University’s colors, an image of the University’s marching band,

 images of the University’s campus buildings and statues, and an image of the

 University’s Founder and her home on campus. See Exhibit A, Aff. of Belvin Perry,

 Jr., ¶ 28.

        28.   The name and image of Dr. Mary McLeod Bethune, in conjunction with

 the University’s colors and images of the University’s marching band, campus

 buildings, and statues, constitute the University’s “trade dress.” See AmBrit, Inc. v.

 Kraft, Inc., 812 F.2d 1531, 1535 (11th Cir. 1986).

        29.   The name and image of Dr. Mary McLeod Bethune, when used with



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 “Alumni” and/or with the University’s trade dress, is inherently distinctive and has

 acquired secondary meaning as it relates to the activities and purposes of the

 University. Students, faculty, and alumni affectionately refer to Dr. Mary McLeod

 Bethune as “Mother Mary” when speaking about the University and its proud

 history. See Exhibit A, Aff. of Belvin Perry, Jr., ¶ 30.

       30.    The Former Alumni Association, knowing of the University’s

 relationship with its distinctive Founder, adopted her likeness and image to falsely

 associate with and hold itself out as the University’s “National Alumni Association.”

       31.    This unauthorized commercial use of the confusingly similar marks and

 trade dress, falsely associating with the University, is designed to willfully and/or

 intentionally trade on the goodwill of the University’s Marks and trade dress, and

 cause confusion and deception in the marketplace among customers intending to

 purchase goods and services affiliated with or otherwise authorized by the

 University, and among donors who intend to provide funds for the benefit of the

 University. See Cyclonaire Corp. v. United States Systems, Inc., 209 U.S.P.Q. 310,

 314 (D.Kan. 1980) (“A party with a prior relationship with the first mark has a

 greater duty to adopt a clearly distinguishable mark than does a mere stranger.”); see

 also Sicilia Di R. Biebow & Co. v. Ronald Cox, 732 F.2d 417, at 432 (5th Cir.1984)

 (“We think that Cox's prior role as a distributor of Sicilia's citrus juice provides

 additional evidence of his intent to trade on the goodwill of Sicilia”).


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       32.    The    Former     Alumni     Association’s    intentional    unauthorized

 commercial use of the University’s Marks will deceive donors and the relevant

 consuming public into believing, mistakenly, that the Former Alumni Association’s

 services originate from, are associated or affiliated with, or are otherwise authorized

 by the University, which they are not. Exhibit B, Aff. of Kimberly Woodard, ¶¶ 12,

 13, 14.

       33.    Thus, Defendants’ actions are causing, and unless restrained, will

 continue to cause, damage and immediate irreparable harm to the University that

 cannot be adequately compensated with money damages.

                                     ARGUMENT

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, the University

 has a clear right to immediate injunctive relief from Defendants’ unauthorized use

 of the University’s Marks and trade dress, including any confusingly similar variants

 thereof. By its very nature, trademark infringement causes irreparable harm. See

 Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d 1018, 1029 (11th Cir. 1989).

       Accordingly, injunctive relief is appropriate as there is no adequate remedy at

 law. The Eleventh Circuit has noted that “in ordinary trademark infringement

 actions . . . complete injunctions against the infringing party are the order of the day

 [and the] reason is simple: the public deserves not to be led astray by the use of

 inevitably confusing marks . . . .” Angel Flight of Ga., Inc. v. Angel Flight Am., Inc.,


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 522 F.3d 1200, 1209 (11th Cir. 2008) (internal quotation and citations omitted).

 Trademark infringement, thus, harms not only the rightful owner of the trademark

 but the public at large as well. See Kason Indus., Inc. v. Component Hardware

 Group, Inc., 120F.3d 1199, 1207 (11th Cir. 1997).

        This court may grant a preliminary injunction if the movant establishes:

        “(1) a substantial likelihood of success on the merits; (2) that irreparable injury

 will be suffered if the relief is not granted; (3) that the threatened injury outweighs

 the harm the relief would inflict on the non-movant; and (4) that entry of the relief

 would serve the public interest.” Fed. R. Civ. P. 65; Schiavo ex rel. Schindler v.

 Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005); see also Davidoff & CIE, S.A. v.

 PLD Intern. Corp., 263 F.3d 1297, 1300 (11th Cir. 2001) (reciting such factors as

 applicable to a trademark infringement claim). The University has established each

 of these four factors and is entitled to injunctive relief to protect its reputation and

 goodwill.

   I.   The University’s Success on its Trademark Infringement and False
        Association Claims is a Virtual Certainty

        The facts set forth above demonstrate that the Former Alumni Association has

 engaged in trademark infringement of at least those federally-registered University

 Marks in violation of federal law. Section 32(a) of the Lanham Act, 15 U.S.C.

 §1114(1)(a), provides a vehicle by which an owner of a federally registered

 trademark may protect its trademark registration. Under § 32(a) of the Lanham Act,

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 liability for trademark infringement occurs when a person “use[s] in commerce any

 reproduction, counterfeit, copy, or colorable imitation of a registered mark which is

 likely to cause confusion, or to cause mistake, or to deceive.” Frehling Enters., Inc.

 v. Int’l Select Group, Inc., 192 F.3d 1330, 1335 (11th Cir. 1999); see also 15 U.S.C.

 § 1114(1)(a). “Thus, to prevail, a plaintiff must demonstrate (1) that its mark has

 priority and (2) that the defendant’s mark is likely to cause consumer confusion.”3

 Id. This standard applies to claims of infringement under Florida law as well. See

 Great Southern Bank v. First Southern Bank, 625 So.2d 463, 466-67 (Fla. 1993)

 (“[w]e also analyze [common-law trademark infringement] based on cases decided

 under comparable provisions of the federal Lanham Act”); see also § 495.181, Fla.

 Stat. (“construction given the [Lanham Act] should be examined as persuasive

 authority for interpreting and construing this chapter”).

        Both of these elements are present here. Indeed, in similar circumstances,

 federal courts have repeatedly acknowledged that an alumni association may not

 utilize the marks of the associated educational institution without permission. See


 3
   The Eleventh Circuit and courts within it also have stated this standard with more discrete
 subparts, expressly listing as one or more numbered elements the statutory requirement that the
 infringing mark be used “in commerce.” For example, “[t]hus, to prevail on a trademark
 infringement claim a plaintiff must demonstrate that (1) its mark has priority, (2) defendant used
 its mark in commerce, and (3) defendant’s mark is likely to cause consumer confusion.” PetMed
 Express, 336 F. Supp. 2d at 1217 (citing Int’l Cosmetics Exch., Inc. v. Gapardis Health & Beauty,
 Inc., 303 F.3d 1242 (11th Cir. 2002) and Frehling Enters., Inc. v. Int’l Select Group, Inc., 192 F.3d
 1330 (11th Cir. 1999)); see also N. Am. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d 1211,
 1218 (11th Cir. 2008). Regardless of how they are stated, each of these elements are satisfied in
 this case.

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 Villanova Univ. v. Villanova Alumni Educational Foundation, Inc., 123 F. Supp. 2d

 293, 312 (E.D. Pa. 2000) (preliminarily enjoining defendant alumni association’s

 use of university marks) 4. See Oakwood University, Inc. v. Oakwood University

 Alumni Association, 5:18-cv-870-MHH, 2020 WL 4732074, *22 (N.D. Ala. August

 14, 2020) (preliminary injunction preventing alumni association from using

 university’s marks or indicating association with the university). Unless the Court

 enjoins the Former Alumni Association, its officers, and McCray from continuing

 to use the University’s Marks, the University will be irreparably harmed.

        1.      The University’s Marks are valid and have priority.

        There can be no dispute that the University’s Marks are valid. Nor can there

 be any dispute that the University has acquired statutory and common law rights in

 its Marks. See ¶¶ 4, 5, above. The right to use these Marks in conjunction with

 educational and entertainment services necessarily extends to use of the Marks in

 conjunction with fundraising to support those services. See Villanova, 123 F. Supp.

 at 302 (“the educational activities of a non-profit educational institution inherently

 encompass charitable services [and thus] the U.S. Trademark registration certificates

 logically extend to the University’s use of these marks in fundraising activities that

 4
   The Alumni Association of New Jersey Institute of Technology v. The Newer Jersey Institute of
 Technology, 2014 WL 917051 (N.J. Super. Feb. 28, 2014) (permanently enjoining defendant
 alumni association’s use of university marks); see also Potomac Conference of Seventh- Day
 Adventists v. Takoma Academy Alumni Association, Inc., 2 F. Supp. 3d 758, (D. Md. 2014)
 (denying association’s motion to dismiss finding that educational institution had properly pled that
 alumni group’s use of the institution’s marks constituted trademark infringement).

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 are necessary to support its education and entertainment activities”). “The certificate

 of registration constitutes prima facie evidence of the validity of the registered mark

 . . . and of the owner’s exclusive right to use the registered mark in commerce.” 15

 U.S.C. § 1057(b). Further, the USPTO has issued a Notice of Acceptance under

 Section 8 of the Lanham Act, 15 U.S.C. §1058(a)(l) and Section 15 of the Lanham

 Act, 15 U.S.C. §1065 for the aforementioned trademarks and service marks.

 Accordingly, the University’s rights to these registrations are “incontestable” under

 Section 15 of the Lanham Act, 15 U.S.C. §1065.

       2.     Use of “Dr. Mary Mcleod Bethune National Alumni Association,
              Inc.” is likely to cause confusion in the marketplace.

       The only remaining question for proving a federal trademark infringement

 claim is whether the Defendant’s use of the University’s Marks and/or its founder’s

 name in conjunction with “National Alumni Association, Inc.” and the University’s

 trade dress is likely to cause confusion. In assessing whether there exists a likelihood

 of consumer confusion, the Court considers: (1) the type of mark; (2) the similarity

 of the mark; (3) the similarity of the products the marks represent; (4) the similarity

 of the parties’ retail outlets, or trade channels, and customers; (5) the similarity of

 advertising media; (6) defendant’s intent; and (7) actual confusion. Frehling Enters.,

 Inc., 192 F.3d at 1335; see also J-B Weld Co., LLC v. Gorilla Glue Co., 978 F.3d

 778, 789 (11th Cir. 2020) (substantially similar factors used to determine whether

 there is a likelihood of confusion between two trade dresses). Of these, the type of

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 mark and actual confusion are most important, but evidence of actual confusion is

 not a prerequisite to establishing a likelihood of confusion. Frehling Enters., Inc.,

 192 F.3d at 1335, 1340.

       Where the copying of a mark is intentional, as is the case here with the Former

 Alumni Association’s use of the University’s Marks in conjunction with flyers,

 website postings, email correspondence, and social media postings, a rebuttable

 presumption of the likelihood of confusion is created. See Bauer Lamp Co. v.

 Shaffer, 941 F.2d 1165, 1172 (11th Cir. 1991).        Furthermore, the “deliberate

 adoption of a similar mark,” such as the Former Alumni Association’s use of the

 University’s founder’s name, its colors, an image of the University’s marching band,

 images of the University’s campus buildings and statues, an image of the

 University’s Founder and her home on campus, and its representation as the

 “National Alumni Association,” (see Compl. ¶ 69), “may lead to an inference of

 intent to pass off goods as those of another which in turn supports a finding of

 likelihood of confusion.” Beer Nuts v. Clover Club Foods Co., 805 F.2d 920 (10th

 Cir. 1986). And because the Former Alumni Association, with knowledge of the

 University’s exclusive ownership of the University’s Marks and trade dress, adopted

 and made use of the Marks and trade dress, the likelihood of confusion is presumed

 until rebutted. The Former Alumni Association cannot rebut this presumption with

 competent evidence.


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       Notwithstanding this presumption, the evidence discussed above weighs in

 favor of finding a likelihood of confusion exists. See Exhibit B, Aff. of Kimberly

 Woodard. The University’s Marks and trade dress are widely recognized and highly

 regarded locally, nationally and, indeed, around the world. The Former Alumni

 Association obviously recognizes this and thus, continues to use the name “Dr. Mary

 Mcleod Bethune National Alumni Association, Inc.” in commerce along with the

 University’s trade dress. Quite simply, the use of the name of the University’s

 Founder in conjunction with “Alumni Association” and the University’s trade dress

 (colors, images of marching band, campus, etc.) indicates the Former Alumni

 Association’s “intention to bolster its own reputation by trading off of the goodwill

 associated with the plaintiff's trade dress supports a finding of likelihood of

 confusion.” J-B Weld Co., 978 F.3d at 790.

       Defendant’s intent to continue its use is shown by its domain name

 “https://www.mmbnaa.org/” as well as the name reservation of “Dr. Mary Mcleod

 Bethune National Alumni Association, Inc.” for its corporate filing with the Florida

 Division of Corporations. See Compl. ¶ 70; see also Planetary Motion, Inc. v.

 Techsplosion, Inc., 261 F.3d 1188, 1204-05 (11th Cir. 2001) (holding that an

 injunction prohibiting trademark infringement defendant from using the name

 “Coolmail” or any similar mark in connection with e-mail or other Internet-related

 services, in connection with software, as part of its domain name of its website, was


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 neither vague nor overbroad). On June 13, 2022, another Not for Profit Corporation

 was established with the name, “Mary McLeod Bethune National Alumni

 Association Inc.,” with Defendant McCray named as President 5.

           In addition to the Former Alumni Association’s continued attempts to conduct

 commerce by trading on the University’s association with its Founder, the marching

 band, and other University landmarks, is likely to lead to confusion where the

 activities the Former Alumni Association engages in overlaps with the activities of

 the University’s Direct Support Organization. See Villanova, 123 F. Supp. 2d at 306

 (finding likelihood of confusion where alumni group used university’s marks to

 engage in university-related fundraising).

     II.   Without Injunctive Relief, The University Will Continue to Suffer
           Irreparable Injury

           The Eleventh Circuit “extend[s] a presumption of irreparable harm once a

 plaintiff establishes a likelihood of success on the merits of a trademark infringement

 claim.” N. Am. Med. Corp. v. Axiom Worldwide, Inc., 522 F.3d 1211, 1227 (11th

 Cir. 2008)6.      The presumption of irreparable injury applies here because the


 5
  Pursuant to Florida Division of Corporations Database. https://dos.myflorida.com/sunbiz/search/
 6
  See also Tally-Ho, Inc. v. Coast Cmty. Coll. Dist., 889 F.2d 1018, 1029 (11th Cir. 1989) (quoting
 Processed Plastic Co. v. Warner Communications, 675 F.2d 852, 858 (7th Cir.1982)) (“[i]t is
 generally recognized in trademark infringement cases that (1) there is no adequate remedy at law
 to redress infringement and (2) infringement by its nature causes irreparable harm.”); Potomac
 Conf. Corp. of Seventh-Day Adventists, 2014 WL 857947 (D. Md. Mar. 4, 2014) (quoting
 Prosperity Sys., Inc. v. Ali, No. CCB-10-2024, 2010 WL 5174939, at *5 (D. Md. Dec. 15, 2010))
 (“Generally, the finding of irreparable harm is automatic in a trademark infringement case where
 the trademark holder has demonstrated lawful use and the likelihood of consumer confusion.”).

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 University can establish its lawful use – and the Former Alumni Association’s

 infringement of – its trademarks.

       Even absent the application of such a presumption, unless the Court enjoins

 the Former Alumni Association’s impermissible use of the University’s Marks,

 confusingly similar marks, and trade dress, the University will suffer immediate and

 irreparable injury that cannot be adequately compensated with money damages,

 including, but not limited to: (a) the loss of the ability to control the use of the

 University’s Marks and trade dress in commerce, including the type, style and

 quality of the goods and services to which it is attached; (b) the certainty of confusion

 among the consuming public as to the University’s affiliation with, approval of

 and/or sponsorship of the Former Alumni Association’s goods and services, arising

 directly from its unauthorized use of the University’s Mark and trade dress; and (c)

 the actual and/or imminent threatened loss to the University’s valuable goodwill and

 reputation with the consuming public. See Exhibit B, Aff. of Kimberly Woodard.

       Indeed, the Former Alumni Association continues to use the University’s

 Founder’s name in conjunction with “National Alumni Association” and a logo with

 the University’s colors and an image of the University’s Founder, thereby falsely

 suggesting to Alumni, students, donors, and the public at large that its actions are

 approved and supported by the University. This also causes confusion over the




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 source of the University’s fundraising and potential accreditation problems under

 SACS Standard 5.3.

       The University has no adequate remedy at law for this injury because the harm

 it will suffer as a result of the Former Alumni Association’s exploitation of the

 University’s Marks or confusingly similar marks and trade dress is incapable of

 exact proof. An award of money damages simply cannot redress the University’s

 loss of (a) control over its trademarks and the inevitable consumer confusion; (b) the

 attendant harm to the University’s good will and reputation, and (c) the University’s

 loss of control over the fund-raising activities and the potentially damaging

 ramifications of losing its SACS accreditation.

       Further, the Former Alumni Association still unlawfully uses the University’s

 trade dress and confusingly similar marks in its flyers, emails, and social media

 postings to Alumni for their sponsored events. And although the Former Alumni

 Association will argue it has attempted to purportedly cease using the University’s

 Marks on its website, without an injunction, nothing stops the Former Alumni

 Association from infringing upon the University’s Marks at a later date. See Haynes

 v. Hooters of Am., LLC, 893 F.3d 781 (11th Cir. 2018); see also Burger King Corp.

 v. Weaver, 33 F.Supp.2d 1037, 1040 (S.D. Fla. 1998) (willful violation of trademark

 rights and failure to cease infringement until plaintiff sought injunctive relief,

 injunctive relief not rendered moot); Clayton v. Howard Johnson Franchise Sys.


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 Inc., 730 F.Supp. 1553, 1558 (M.D. Fla. 1988) (“[T]he mere discontinuance of

 infringing conduct does not render injunctive relief inappropriate. There is a

 cognizable danger of future violations, given the past violations by Plaintiffs”);

 Blisscraft of Hollywood v. United Plastics Co., 294 F.2d 694, 702 (2d Cir. 1961)

 (injunction should issue against future usage of label with close resemblance in

 color, scheme, and design to plaintiff’s label even though defendant discontinued

 use 5 months prior to lawsuit since defendant denied in answer validity of plaintiff’s

 trademark). Thus, a temporary injunction is necessary to enjoin current and future

 action of the Former Alumni Association.

 III.   The Balance of the Harms Weighs in the University’s Favor

        The harm caused by the Former Alumni Association as a result of its

 infringement of the University’s Marks and trade dress far exceeds any alleged harm

 caused as a result of any injunctive relief entered against Former Alumni Association

 and in favor of the University.

        There will be no substantial hardship on the Former Alumni Association

 because of the requested Order. The Former Alumni Association, despite any

 injunctive relief prohibiting use of the University’s Marks and trade dress, would

 still be able to continue providing alumni networking services under a different, non-

 infringing name and logo, (provided any new arrangement agrees to recognize and

 comply with SACS Standard 5.3). Conversely, the University would be at risk of


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 significant harm if injunctive relief is not granted, including, but not limited to, the

 potential loss of SACS accreditation as well as harm to its goodwill and reputation.

 Under similar circumstances, the court in Potomac Conference Corp. of Seventh Day

 Adventists determined that the balance of the equities tipped in favor of the plaintiff,

 stating that “a preliminary injunction [requested by the plaintiff] barring use of the

 marks at issue still allows Defendant [alumni association] to fundraise and host

 events for students and alumni.” 2014 WL 857947, *21 (D. Md. March 4, 2014);

 see also Villanova, 123 F. Supp. 2d at 311 (finding infringing alumni association

 “can hardly claim to be harmed” by order barring continued use of university’s

 marks and entering preliminary injunction). Ultimately, any inconvenience caused

 to the Former Alumni Association from any injunctive relief would be minor in

 comparison to the harm suffered by the University if injunctive relief is not granted.

 See id., (noting that “Defendant [alumni association] may suffer some inconvenience

 from issuance of an injunction” but that such inconvenience “would not be greater

 than the hardship suffered by [Villanova] University through the continued loss of

 control over its name, marks and goodwill” particularly where the inconvenience

 was the “result of defendant’s own conduct.”).

 IV.   The Issuance of an Injunction Will Serve the Public Interest

       As demonstrated by the Lanham Act, infringement of the University’s Marks

 by the Former Alumni Association is against the public policy of the State of Florida


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 and of the United States. A preliminary injunction issued in the University’s favor

 will actually serve the public interest because it will minimize confusion in the

 marketplace7.

     THE UNIVERSITY SHOULD NOT BE REQUIRED TO POST BOND

        The University contends no bond is called for in this case, and the Court has

 the discretion to require no bond at all. See BellSouth Telecomms., Inc. v. MCImetro

 Access Transmission Servs., LLC, 425 F.3d 964, 971 (11th Cir. 2005) (“it is well-

 established that the amount of security required by [Rule 65(c)] is a matter within

 the discretion of the trial court, and the court may elect to require no security at all”);

 see also TracFone Wireless, Inc. v. Washington, 978 F.Supp.2d 1225, 1235 (M.D.

 Fla. 2013) (no bond required because high probability on succeeding on merits of

 Lanham Act claims and defendants have no legitimate interest in continued use of

 trademarks). A bond should not be required here.

        The University has shown a high probability of succeeding on the merits of

 its claims. Moreover, the evidence demonstrates that Former Alumni Association’s

 infringement is willful and that they have no legitimate interest in their continued



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   See Kason Indus., Inc. v. Component Hardware Group, Inc., 120 F.3d 1199, 1207 (11th Cir.
 1997) (noting a strong public interest in preventing deception of consumers in the marketplace).
 Eliminating such confusion is “paramount.” TracFone Wireless, Inc. v. Washington, 978 F. Supp.
 2d 1225, 1234 (M.D. Fla. 2013). Indeed, trademark infringement not only negatively impacts the
 right of the “trademark owner to control his products’ reputation” but also “the right of the public
 to be free of confusion.” Id. at 1234-35. “[T]he public interest would be served by the issuance of
 a preliminary injunction which prevents further consumer confusion.” Id. at 1235.

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 use of the University’s Marks and trade dress. Furthermore, since the University is

 a non-profit organization, no bond should be required. See Southern Appalachian

 Biodiversity Project v. U.S. Forest Service, 162 F.Supp.2d 1365, 1368 (N.D. Georgia

 2001) (recognizing that plaintiff was a non-profit organization, court did not require

 plaintiff to post a security bond); Pass-A-Grille Beach Community Church, Inc. v.

 City of St. Pete Beach, Florida, 515 F.Supp.3d 1226, 1237 (M.D. Fla. 2021) (equities

 weigh in favor of non-profit church for waiving bond requirement).

       Accordingly, although the University stands ready and willing to post security

 as the Court may order, it requests that the Court require no bond or require only a

 nominal amount.

                             REQUEST FOR RELIEF

       For the foregoing reasons, the University respectfully requests that this Court

 set and conduct a Preliminary Injunction hearing at the Court’s earliest opportunity,

 and enter an order and judgment temporarily and permanently enjoining the Former

 Alumni Association, McCray, the Former Alumni Association’s agents, officers,

 servants, employees, attorneys, affiliate chapters, and all other persons who are in

 active concert or participation with the Former Alumni Association from:

              (a)   using the University’s Marks or any colorable imitations thereof,

 including those that are confusingly similar to or in any way similar to the

 University’s Marks or that is likely to cause confusion, mistake, deception or public


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 misunderstanding as to the origin of the Former Alumni Association’s goods and

 services, or cause the impression that the Former Alumni Association’s goods and

 services are associated with the University;

               (b)   registering, trafficking in or using any state or federal trademark

 or service mark that incorporates the University’s Marks or any colorable imitations

 thereof;

               (c)   displaying goods or services incorporating the University’s

 Marks in connection with any advertisement or promotion including, without

 limitation, over the internet;

               (d)   otherwise using any trademarks, trade dress, or tradenames

 that are confusingly similar to any of the University’s Marks, including, but not

 limited to “Bethune-Cookman,” “Bethune-Cookman University,” “B-CU,” “B-

 CU Alumni Association,” and any variation of the name of the University’s

 Founder, “Dr. Mary McLeod Bethune” in conjunction with “Alumni,” whether

 alone, or in combination with other text, words, letters numbers, the University’s

 colors, images of the University’s campus and events, or images of its Founder;

 and

               (e)   fundraising and solicitating in the name of or on behalf of the

 University in any manner.

       Respectfully submitted July 5, 2022.


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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 5, 2022, a true and correct copy of the

 foregoing was served electronically via the CM/ECF system on the following:

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